     Case 3:17-cv-01362 Document 342 Filed 04/17/20 Page 1 of 2 PageID #: 7107

                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

THE CITY OF HUNTINGTON,

               Plaintiff,
v.                                                          Civil Action No. 3:17-01362

AMERISOURCEBERGEN DRUG
CORPORATION, et al.

            Defendants.
________________________________

CABELL COUNTY COMMISSION,

               Plaintiff,
v.                                                          Civil Action No. 3:17-01665

AMERISOURCEBERGEN DRUG
CORPORATION, et al.

               Defendants.

                        NOTICE OF INTENT TO SERVE SUBPOENA

        PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 45(a)(4),

Cardinal Health, Inc., by and through undersigned counsel, will cause the attached subpoena to be

duly served on Karen Bowling, as soon as practicable. Accompanying this Notice, please find a copy

of the aforementioned subpoena, together with Attachment A.

        Dated this 17th day April, 2020.

                                                      /s/ David R. Pogue
                                                    Michael W. Carey (WVSB No. 635)
                                                    David R. Pogue (WWVSB No. 10806)
                                                    Carey, Scott, Douglas & Kessler, PLLC
                                                    901 Chase Tower, 707 Virginia Street, East
                                                    P.O. Box 913
                                                    Charleston, WV 25323
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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 17th day of April, 2020, the foregoing “Notice

of Intent to Serve Subpoena” was served using the Court’s CM/ECF system, which will send

notification of such filing to all counsel of record.



                                                         /s/ David R. Pogue
                                                        David R. Pogue (WVSB No. 10806)
